          Case
           Case1:20-cr-00419-VM
                1:20-cr-00419-VM Document
                                  Document21-1
                                           22 Filed
                                               Filed11/02/20
                                                     10/30/20 Page
                                                               Page11ofof44




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                    11/2/2020

 United States of America                                               ------- Protective Order
                                                                       [Proposed]

                  v.                                                                20 Cr. 419 (VM)

 Miles Charles,

                             Defendant.



        Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery pursuant to Fed. R. Crim. P. 16(a)(1), the

Court hereby finds and orders as follows:

        1. Disclosure Material. The Government will make disclosure to the defendant of

documents, objects and information, including electronically stored information (“ESI”), pursuant

to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the Government’s general

obligation to produce exculpatory and impeachment material in criminal cases, all of which will

be referred to herein as “disclosure material.” The Government’s disclosure material may include

material that (i) affects the privacy and confidentiality of individuals; (ii) would impede, if

prematurely disclosed, the Government’s ongoing investigation of uncharged individuals;

(iii) would risk prejudicial pretrial publicity if publicly disseminated; and (iv) that is not authorized

to be disclosed to the public or disclosed beyond that which is necessary for the defense of this

criminal case.

        2. Sensitive Disclosure Material. Certain of the Government’s disclosure material,

referred to herein as “sensitive disclosure material,” contains information that identifies, or could

lead to the identification of, witnesses who may be subject to intimidation or obstruction, and

whose lives, persons, and property, as well as the lives, persons and property of loved ones, may
         Case
          Case1:20-cr-00419-VM
               1:20-cr-00419-VM Document
                                 Document21-1
                                          22 Filed
                                              Filed11/02/20
                                                    10/30/20 Page
                                                              Page22ofof44




be subject to risk of harm absent the protective considerations set forth herein. The Government’s

designation of material as sensitive disclosure material will be controlling absent contrary order of

the Court.

NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

       1. Disclosure material shall not be disclosed by the defendant or defense counsel, including

any successor counsel (“the defense”) other than as set forth herein, and shall be used by the

defense solely for purposes of defending this action. The defense shall not post any disclosure

material on any Internet site or network site to which persons other than the parties hereto have

access, and shall not disclose any disclosure material to the media or any third party except as set

forth below.

       2. Disclosure material that is not sensitive disclosure material may be disclosed by counsel

to:

             (a) Personnel for whose conduct counsel is responsible, i.e., personnel employed by or

retained by counsel, as needed for purposes of defending this action;

             (b) Prospective witnesses for purposes of defending this action.

       3. Sensitive disclosure material so designated by the Government, including any copies

thereof or excerpts therefrom, may be disclosed by defense counsel to the defendant for review

only in the presence of defense counsel (or paralegals or staff working at the direction of defense

counsel), for purposes related to this case. Notwithstanding the foregoing, the defendant shall not

maintain, retain, or keep copies or notes of sensitive disclosure material outside of the presence of




                                                  2
         Case
          Case1:20-cr-00419-VM
               1:20-cr-00419-VM Document
                                 Document21-1
                                          22 Filed
                                              Filed11/02/20
                                                    10/30/20 Page
                                                              Page33ofof44




defense counsel.    All sensitive disclosure material possessed by defense counsel shall be

maintained in a safe and secure manner.

       4. The Government may authorize, in writing, disclosure of disclosure material beyond that

otherwise permitted by this Order without further Order of this Court.

       5. This Order does not prevent the disclosure of any disclosure material in any hearing or

trial held in this action, or to any judge or magistrate judge, for purposes of this action. However,

sensitive disclosure material pertinent to any motion before the Court should initially be filed under

seal, absent consent of the Government or Order of the Court. All filings should comply with the

privacy protection provisions of Fed. R. Crim. P. 49.1.

       6. Except for disclosure material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all disclosure material,

including the seized ESI disclosure material, within 30 days of the expiration of the period for

direct appeal from any verdict in the above-captioned case; the period of direct appeal from any

order dismissing any of the charges in the above-captioned case; or the granting of any motion

made on behalf of the Government dismissing any charges in the above-captioned case, whichever

date is later. If disclosure material is provided to any prospective witnesses, counsel shall make

reasonable efforts to seek the return or destruction of such materials.

       7. The defense shall provide a copy of this Order to prospective witnesses and persons

retained by counsel to whom the defense has disclosed disclosure material or the Government’s

ESI production. All such persons shall be subject to the terms of this Order. Defense counsel shall

maintain a record of what information has been disclosed to which such persons.


                                                  3
            Case
             Case1:20-cr-00419-VM
                  1:20-cr-00419-VM Document
                                    Document21-1
                                             22 Filed
                                                 Filed11/02/20
                                                       10/30/20 Page
                                                                 Page44ofof44




       8. This Order places no restriction on a defendant’s use or disclosure of ESI that originally

belonged to the defendant.

                                    Retention of Jurisdiction
       9. The provisions of this order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.


AGREED AND CONSENTED TO:

   AUDREY STRAUSS
   Acting United States Attorney


by: _____________________________                        Date:      10/30/2020
    Jun Xiang
    Assistant United States Attorney


   ___________________________                                   10/30/2020
                                                         Date: _____________________
   Ariel Werner, Esq.
   Counsel for Miles Charles


SO ORDERED:

Dated: New York, New York
       November 2, 2020

                                                         _________________________________
                                                         THE HON. VICTOR MARRERO
                                                         UNITED STATES DISTRICT JUDGE




                                                4
